17-01101-scc         Doc 29       Filed 12/13/18        Entered 12/13/18 10:31:13               Main Document
                                                       Pg 1 of 3


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re                                                          :         Chapter 11
                                                               :
RUNWAY LIQUIDATION                                             :         Case No. 17-10466 (SCC)
HOLDINGS, LLC, et al.,1                                        :
                                                               :         Jointly Administered
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
DAVID MACGREEVEY, in his capacity as                           :
PLAN ADMINISTRATOR,                                            :
                                                               :         Adv. Pro. No. 17-01101 (SCC)
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
NYAM, LLC,                                                     :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                         AMENDED SCHEDULING STIPULATION
                    RELATING TO MOTIONS FOR SUMMARY JUDGMENT

         This Amended Scheduling Stipulation is entered into by and between plaintiff, David

MacGreevey, solely in his capacity as plan administrator in the above-captioned chapter 11 cases

(“Plaintiff”) and Defendant NYAM, LLC (“Defendant”).

         WHEREAS, on November 13, 2018, the United State Bankruptcy Court for the Southern

District of New York (the “Bankruptcy Court”) held a pre-motion conference (the “Conference”)

regarding Plaintiff’s proposed motion for summary judgment; and

         WHEREAS, at the Conference, the Court authorized Plaintiff to file a motion for

summary judgment and directed the parties to stipulate to a briefing schedule:

1
    A list of the Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-
    Effective Date Debtor’s federal tax identification number include: Runway Liquidation Holdings, LLC (6857);
    Runway Liquidation, LLC (5942); Runway Liquidation Intermediate Holdings, LLC (3673); MR Liquidation,
    LLC (9200); and MMH Liquidation, LLC (3854).


DOCS_NY:38457.1
17-01101-scc        Doc 29     Filed 12/13/18     Entered 12/13/18 10:31:13           Main Document
                                                 Pg 2 of 3


        IT IS HEREBY STIPULATED AND AGREED THAT

        1.        Plaintiff shall file and serve its motion for partial summary judgment on or before

November 20, 2018.


        2.        Defendant shall file and serve its opposition to Plaintiff’s motion and its cross-

motion for summary judgment, if any, on or before December 28, 2018.


        3.        Plaintiff shall file and serve its reply in support of its motion and its opposition to

any cross-motion of Defendant on or before January 18, 2019.


        4.        Defendant shall file its reply in support of its motion, if any, on or before

February 1, 2019.


        5.        A hearing on Plaintiff’s motion for summary judgment and any cross-motion of


Defendant shall take place before the Bankruptcy Court on March 5, 2019 at 2:00 p.m.


 Dated: December 12, 2018                                Dated: December 12, 2018


 GRIFFIN HAMERSKY LLP                                    PACHULSKI STANG ZIEHL & JONES
                                                         LLP

 /s/ Michael D. Hamersky                                 /s/ Beth E. Levine
 Scott A. Griffin                                        Robert J. Feinstein
 Michael D. Hamersky                                     Bradford J. Sandler
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 Counsel to NYAM LLC                                             blevine@pszjlaw.com

                                                         Counsel to the Plan Administrator


                                                     2
DOCS_NY:38457.1
17-01101-scc      Doc 29   Filed 12/13/18    Entered 12/13/18 10:31:13   Main Document
                                            Pg 3 of 3




SO ORDERED:

December 12, 2018


/S/ Shelley C. Chapman
HONORABLE SHELLEY C. CHAPMAN
UNITED STATES BANKRUPTCY JUDGE




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DOCS_NY:38457.1
